            Case 20-34656-KRH                      Doc 1       Filed 11/21/20 Entered 11/21/20 21:18:47                               Desc Main
                                                              Document      Page 1 of 24
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 Eastern                          Virginia
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                        Check if this is an
                                                                                                                                           amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                               04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Guitar Center, Inc.
                                              ______________________________________________________________________________________________________


                                                                                                               
                                                  Harmony Central Group, LLC; GC Insurance Company, Inc.
 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               9 ___
                                              ___ 5 – 4   6 ___
                                                      ___ ___ 0 ___
                                                                0 ___
                                                                    8 6   2
                                                                      ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                   Mailing address, if different from principal place
                                                                                                            of business
                                                  5795          Lindero Canyon Road
                                              ______________________________________________                _______________________________________________
                                              Number     Street                                             Number     Street

                                              ______________________________________________                _______________________________________________
                                                                                                            P.O. Box
                                                  Westlake Village              CA         91362
                                              ______________________________________________                _______________________________________________
                                              City                        State    ZIP Code                 City                      State      ZIP Code


                                                                                                            Location of principal assets, if different from
                                                                                                            principal place of business
                                                  Los Angeles
                                              ______________________________________________
                                              County                                                        _______________________________________________
                                                                                                            Number     Street

                                                                                                            _______________________________________________

                                                                                                            _______________________________________________
                                                                                                            City                      State      ZIP Code




 5.   Debtor’s website (URL)                      www.guitarcenter.com
                                              ____________________________________________________________________________________________________


7KHLQFOXVLRQRIWKH³2WKHU1DPHV´RQWKLV3HWLWLRQLVQRWDQDGPLVVLRQRIOLDELOLW\RUDQ\REOLJDWLRQRQEHKDOIRI*XLWDU&HQWHU,QFRULWV

DIILOLDWHGGHEWRUV1RWZLWKVWDQGLQJWKHXVHRIDQ\RIWKHQDPHVRQWKLVOLVWHDFKRI*XLWDU&HQWHU,QFDQGLWVDIILOLDWHGGHEWRUVDUHVHSDUDWHOHJDO
HQWLWLHV

Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 1
          Case 20-34656-KRH                Doc 1          Filed 11/21/20 Entered 11/21/20 21:18:47                                 Desc Main
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               Guitar Center, Inc.
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          ✔



                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above
                                          ✔




                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               
                                              ___   ___ ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                          ✔

      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                                 aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                             affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                            recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                             income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                               11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              
                                                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                  noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                  less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                  Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                  statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                  § 1116(1)(B).

                                                             ✔
                                                                  A plan is being filed with this petition.

                                                             ✔
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of
                                                                  creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                  Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                  Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                  for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                  12b-2.
                                           Chapter 12




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 2
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Debtor
                Guitar Center, Inc.
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases        
                                          ✔ No

       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a                          See Rider 1                                                        Affiliate
       business partner or an             
                                          ✔ Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                             Eastern District of Virginia
                                                    District _____________________________________________ When
                                                                                                                               Date Hereof
                                                                                                                              __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                          
                                          ✔
                                            A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12.   Does the debtor own or have        
                                          ✔ No

       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
           Case 20-34656-KRH                 Doc 1         Filed 11/21/20 Entered 11/21/20 21:18:47                                 Desc Main
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               Guitar Center, Inc.
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




 13.   Debtor’s estimation of            Check one:
       available funds                   
                                         ✔ Funds will be available for distribution to unsecured creditors.

                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                                1,000-5,000                               
                                                                                                                          ✔ 25,001-50,000
 14.   Estimated number of                50-99                               5,001-10,000                               50,001-100,000
       creditors
                                          100-199                             10,001-25,000                              More than 100,000
         RQDFRQVROLGDWHGEDVLV          200-999

                                          $0-$50,000                          $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                    $10,000,001-$50 million                   
                                                                                                                          ✔ $1,000,000,001-$10 billion

   RQDFRQVROLGDWHGEDVLVEDVHG        $100,001-$500,000                   $50,000,001-$100 million                   $10,000,000,001-$50 billion
  RQQHWERRNYDOXHDVRI         $500,001-$1 million                 $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                          $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                    $10,000,001-$50 million                   
                                                                                                                          ✔ $1,000,000,001-$10 billion

    RQDFRQVROLGDWHGEDVLVEDVHG       $100,001-$500,000                   $50,000,001-$100 million                   $10,000,000,001-$50 billion
   RQQHWERRNYDOXHDVRI        $500,001-$1 million                 $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of      Q    The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                              petition.
       debtor
                                         Q    I have been authorized to file this petition on behalf of the debtor.

                                         Q    I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                             11   / 21 / 2020
                                              Executed on _________________
                                                          MM / DD / YYYY


                                         8      /s/ Tim Martin
                                              _____________________________________________
                                                                                                           Tim Martin
                                                                                                           _______________________________________________
                                              Signature of authorized representative of debtor             Printed name

                                                    Authorized Signatory
                                              Title _________________________________________




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
          Case 20-34656-KRH               Doc 1       Filed 11/21/20 Entered 11/21/20 21:18:47                               Desc Main
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Debtor         Guitar Center, Inc.
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                        8    /s/ Tyler P. Brown
                                            _____________________________________________            Date        11   /21 / 2020
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                            Tyler P. Brown
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Hunton Andrews Kurth LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                           951         East Byrd Street
                                           _________________________________________________________________________________________________
                                           Number     Street
                                            Richmond
                                           ____________________________________________________             VA
                                                                                                           ____________  23219
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                            804-788-8200
                                           ____________________________________                             tpbrown@huntonak.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                            28072
                                           ______________________________________________________  Virginia
                                                                                                  ____________
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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                                                 Rider 1
                  Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

       On the date hereof, the Debtor and each of its affiliated entities listed below (collectively,
the “Debtors”), filed petitions in the United States Bankruptcy Court for the Eastern District of
Virginia (this “Court”) for relief under chapter 11 of title 11 of the United States Code. The
Debtors will move for joint administration of the cases of each of the Debtors under the case
number assigned to the chapter 11 case of Guitar Center, Inc.

              •     Guitar Center Holdings, Inc.
              •     Guitar Center Stores, Inc.
              •     GTRC Services, Inc.
              •     GC Business Solutions, Inc.
              •     Guitar Center Gift Card Company, LLC
              •     Music & Arts Instructor Services, LLC
              •     AVDG, LLC




45014.00001
                                                                               Case 20-34656-KRH            Doc 1     Filed 11/21/20 Entered 11/21/20 21:18:47                 Desc Main
                                                                                                                     Document      Page 7 of 24




     Fill in this information to identify the case:
     Debtor Name: Guitar Center, Inc.________________________________________
     United States Bankruptcy Court for the____Eastern District of Virginia_________
                                                        (State)
     Case Number (If known) :____________________________                                                                                                                                                                         ☐ Check if this is an
                                                                                                                                                                                                                                  amended filing

     Offical Form 204
     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured
                                                                    1
     Claims and Are Not Insiders (Reported on a Consolidated Basis)                                                                                                                                                                                  12/15
     A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do
     not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
     unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.
                                                                                                                                                                                       Indicate if claim is
                                                                                                                                                                                          contingent,
                                                                                                                                                                                                                                  Amount of claim
                                                                                                                                                                                        unliquidated, or
                               Vendor Name                                   Name, telephone number, and email address of creditor contact                Nature of the Claim               disputed
                                                                                                                                                                                                                                   Deduction for
                                                                                                                                                                                                               Total claim, if        value of
                                                                                                                                                                                                                                                    Unsecured Claim
                                                                                                                                                                                                              partially secured     collateral or
                                                                                                                                                                                                                                              2
                                                                                                                                                                                                                                       setoff
  1 Wilmington Savings Fund Society FSB                                    Patrick J. Healy                                                         NOTE PAYABLE                                                                                        379,306,000
                                                                           PHealy@wsfsbank.com
                                                                           3028887420
                                                                           500 Delaware
                                                                           Wilmington, DE 19801
                                                                            Patrick Healy: PHealy@wsfsbank.com
                                                                           Jose Verdejo: JVerdejo@wsfsbank.com
                                                                           Geoffrey Lewis: GLewis@wsfsbank.com
                                                                           Andrew Silverstein: silversteina@sewkis.com
                                                                           John Ashmead: ashmead@sewkis.com
  2 Yamaha Music Corporation                                               Tom Sumner                                                               MERCHANDISE                                                                                           13,098,680
                                                                           tsumner@yamaha.com
                                                                           7142353270
                                                                           PO BOX 100348.
                                                                           PASADENA, CA 91189-0348
  3 Fender Corp                                                            Tammy VanDonk                                                            MERCHANDISE                                                                                           10,683,035
                                                                           tvandonk@fender.com
                                                                           4804311118
                                                                           P.O. BOX 743545
                                                                           LOS ANGELES, CA 90074-3545
  4 Ningbo Tonwel Audio Equipments Co. Ltd                                 Yan Jun                                                                  MERCHANDISE                                                                                            6,671,432
                                                                           yanjun@tonwel.com
                                                                           8613906686923
                                                                           NO. 60 RENMING MIDROAD JIANGSHAN TOWN
                                                                           NINGBO, CHN 315191
  5 The Bank Of New York Mellon Trust Company, N.A.                        Raymond Torres                                                           NOTE PAYABLE                                                                                           5,782,000
                                                                           (213) 630-6175
                                                                           Raymond.Torres@bnymellon.com
                                                                           2 N. LASALLE STREET
                                                                           SUITE 700
                                                                           CHICAGO, IL 60602
                                                                           David Kerr: david.m.kerr@bnymellon.com
                                                                           Larry Kusch: lawrence.kusch@bnymellon.com
                                                                           Liz Taraila: ETaraila@EMMETMARVIN.COM
                                                                           Edward Zujkowski: EZUJKOWSKI@EMMETMARVIN.COM
  6 Gibson Guitar Corp                                                     Tom Gordon                                                               MERCHANDISE                                                                                            5,044,945
                                                                           tgordon@gibson.com
                                                                           8059075895
                                                                           P.O. BOX 936739
                                                                           ATLANTA, GA 31193-6739
  7 Reliance Musical Ltd                                                   Jerry Chen                                                               MERCHANDISE                                                                                            4,534,067
                                                                           JerryChen@reliancemusical.com
                                                                           886227368151
                                                                           P.O. BOX 96-140, TAIPEI 106-3RD FL
                                                                           NO. 175 SEC. 2, AN HO RD.
                                                                           TAIWAN, TW
  8 Nektar Technology Inc                                                  Zhao Ping                                                                MERCHANDISE                                                                                            3,745,180
                                                                           zhaopingringway@gmail.com
                                                                           8188243388
                                                                           655 N. CENTRAL AVE, 17TH FLOOR
                                                                           GLENDALE, CA 91203

    1 The information herein shall not constitute an admission of liability by, nor is it binding on, any Debtors with respect to all or any portion of the claims listed below. Moreover, nothing herein shall affect the
    Debtors' right to challenge the amount or characterization of any claim at a later date.
    2 The Debtors reserve the right to assert setoff and other rights with respect to any of the claims listed herein.




Official Form 204                                                                         List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                                                                          Page 1
                                                   Case 20-34656-KRH         Doc 1    Filed 11/21/20 Entered 11/21/20 21:18:47           Desc Main
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Guitar Center, Inc.                                                                                                                                                                          Case Number (if known) 20-_____( )
Name


                                                                                                                                              Indicate if claim is
                                                                                                                                                 contingent,
                                                                                                                                                                                         Amount of claim
                                                                                                                                               unliquidated, or
                                  Vendor Name    Name, telephone number, and email address of creditor contact        Nature of the Claim          disputed
                                                                                                                                                                                          Deduction for
                                                                                                                                                                      Total claim, if        value of
                                                                                                                                                                                                           Unsecured Claim
                                                                                                                                                                     partially secured     collateral or
                                                                                                                                                                                                     2
                                                                                                                                                                                              setoff
   9 Alphatheta Music Americas Inc              Matt Pekmezian                                                   MERCHANDISE                                                                                     2,841,982
                                                matthew.pekmezian@pioneerdj.com
                                                7148518093
                                                2050 W 190TH ST #109
                                                TORRANCE, CA 90504
  10 Roland Corp US                             Tony Price                                                       MERCHANDISE                                                                                     2,655,000
                                                tony.price@roland.com
                                                4803133781
                                                ATTN: ACCOUNTS RECEIVABLE
                                                P.O. BOX 512959
                                                LOS ANGELES, CA 90051-0959
  11 Cf Martin & Co                             Mitchell Nollman                                                 MERCHANDISE                                                                                     2,564,249
                                                mnollman@martinguitar.com
                                                5089512780
                                                436 SHARON DR
                                                ROCHESTER, NY 14626-1951
  12 Bosch Security Systems Inc                 Tom Hansen                                                       MERCHANDISE                                                                                     2,409,104
                                                Thomas.Hansen@us.bosch.com
                                                9528875567
                                                33902 TREASURY CENTER
                                                CHICAGO, IL 60694-3900
  13 Inmusic Brands Inc                         Pat Sullivan                                                     MERCHANDISE                                                                                     2,407,387
                                                pat@inmusicbrands.com
                                                4016583131
                                                P.O. BOX 414040
                                                BOSTON, MA 02241-4040
  14 Google Inc                                 Brian Crocker                                                    MARKETING                                                                                       2,065,834
                                                bcrocker@google.com
                                                3104604086
                                                5626 PONDEROSA DR
                                                COLUMBUS, OH 43231-3151
  15 Taylor Guitars                             Keith Brawley                                                    MERCHANDISE                                                                                     2,023,377
                                                keith.brawley@taylorguitars.com
                                                6197298370
                                                P.O. BOX 848999
                                                LOS ANGELES, CA 90084-8999
  16 Ernie Ball                                 Brian Ball                                                       MERCHANDISE                                                                                     1,740,066
                                                brian@ernieball.com
                                                7604490928
                                                P.O. BOX 877.
                                                COACHELLA, CA 92236
  17 Khs America                                Jerry Goldenson                                                  MERCHANDISE                                                                                     1,699,734
                                                jerry.goldenson@khsmusic.com
                                                6155061730
                                                12020 EASTGATE BLVD
                                                MT JULIET, TN 37122
  18 Marigold Enterprises Ltd                   Florance Chan                                                    MERCHANDISE                                                                                     1,598,642
                                                FLORENCE@MARIGOLD.COM.HK
                                                85292888393
                                                ROOM 713-4, TOWER A, HUNG HOM COMM. CTR.
                                                39 MA TAU WAI RD
                                                HUNG HOM, -- HONGKONG
  19 Korg Usa                                   Joe Castronovo                                                   MERCHANDISE                                                                                     1,534,703
                                                joec@korgusa.com
                                                5162339716
                                                PO BOX 9675
                                                UNIONDALE, NY 11555-9675
  20 Dunlop Manufacturing                       Jimi Dunlop                                                      MERCHANDISE                                                                                     1,463,913
                                                reachjimi@me.com
                                                7073309463
                                                ATTN: ACCT. REC.
                                                P O BOX 846
                                                BENICIA, CA 94510
  21 Shure Incorporated                         Abby Kaplan                                                      MERCHANDISE                                                                                     1,376,117
                                                Kaplan_Abby@shure.com
                                                8475337621
                                                P.O.BOX 99265
                                                CHICAGO, IL 60693
  22 Drum Workshop Inc                          Jim DeStefano                                                    MERCHANDISE                                                                                     1,350,145
                                                jimd@dwdrums.com
                                                8056510099
                                                ATTN: ACCOUNTS RECEIVABLE
                                                3450 LUNAR CT.
                                                OXNARD, CA 93030
  23 D'Addario & Company Inc                    John D'Addario                                                   MERCHANDISE                                                                                     1,329,411
                                                jd3@daddario.com
                                                5162366372
                                                P.O. BOX 27910
                                                NEW YORK, NY 10087-7910




Official Form 204                                           List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                                                              Page 2
                                                 Case 20-34656-KRH         Doc 1    Filed 11/21/20 Entered 11/21/20 21:18:47           Desc Main
                                                                                   Document      Page 9 of 24
Guitar Center, Inc.                                                                                                                                                                        Case Number (if known) 20-_____( )
Name


                                                                                                                                            Indicate if claim is
                                                                                                                                               contingent,
                                                                                                                                                                                       Amount of claim
                                                                                                                                             unliquidated, or
                                Vendor Name    Name, telephone number, and email address of creditor contact        Nature of the Claim          disputed
                                                                                                                                                                                        Deduction for
                                                                                                                                                                    Total claim, if        value of
                                                                                                                                                                                                         Unsecured Claim
                                                                                                                                                                   partially secured     collateral or
                                                                                                                                                                                                   2
                                                                                                                                                                                            setoff
  24 Jbl Professional                         Mike Schoen                                                      MERCHANDISE                                                                                     1,133,617
                                              Mike.Schoen@harman.com
                                              8188953350
                                              PO BOX 4438
                                              CHURCH STREET STATION
                                              NEW YORK, NY 10261-4438
  25 S&H - Hzsamko Technologies Coltd         Steve Shi                                                        MERCHANDISE                                                                                     1,108,568
                                              hzsamko@gmail.com
                                              NO. 8 JIAQI ROAD
                                              XIANLIN TOWN
                                              YUHANG DISTRICT
                                              HANGZHOU, CHN 311122
  26 Dragon Audio Industrial Limited          Ricardo Gong                                                     MERCHANDISE                                                                                     1,056,732
                                              riccardogong@yahoo.com
                                              6F, BUILDING 6TH, HONGFA HI-TECH INDUSTRIAL PARK
                                              NO.1152 NANHUAN AVENUE, GUANGMING DISTRICT
                                              SHENZHEN CHN 518132
  27 Schecter Guitar Research                 Michael Ciravolo                                                 MERCHANDISE                                                                                     1,033,379
                                              michael@schecterguitars.com
                                              8187315760
                                              10953 PENDLETON ST
                                              SUN VALLEY, CA 91352
  28 Ace Products Group                       Alan Poster                                                      MERCHANDISE                                                                                     1,032,616
                                              APosterACE@aol.com
                                              9167997389
                                              3920 CYPRESS DR, SUITE B
                                              PETALUMA, CA 94954
  29 Guangzhou Bourgade Musical Instruments   Jocelin Zhoung                                                   MERCHANDISE                                                                                     1,014,044
                                              JOCELIN@BAOJIAMUSIC.COM
                                              17/F N TOWER SUNTEC PLAZA #197
                                              GUANGZHOU DADAO AV. N. DONGSHAN DIST.
                                              GUANGZHOU CHN 510075
  30 Yamaha Guitar Group                      Steve Bartkoski                                                  MERCHANDISE                                                                                      913,103
                                              sbartkoski@line6.com
                                              6263539459
                                              DBA LINE 6 INC.
                                              P.O. BOX 847028
                                              LOS ANGELES, CA 90084




Official Form 204                                         List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                                                              Page 3
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                                                                                                       Execution Version


                                    OMNIBUS UNANIMOUS WRITTEN CONSENT
                                OF THE BOARDS OF DIRECTORS AND SOLE MEMBERS

                                                        November 19, 2020

                     The undersigned, being all of the members of the boards of directors or the sole member (each, a
            “Governing Body”), as applicable, of each of the entities listed on Annex I (each, a “Company” and,
            collectively, the “Companies”), acting pursuant to the applicable organizational documents of the
            Companies, approve and adopt the following resolutions:

            I.        Chapter 11 Filing

                    WHEREAS, reference is made to the Restructuring Support Agreement, dated as of November 13,
            2020 (the “Restructuring Support Agreement”), previously approved by the Governing Bodies, by and
            among the Companies and the Support Parties (as defined in the Restructuring Support Agreement)
            pursuant to which the Companies and Support Parties agreed to consummate certain restructuring and
            recapitalization transactions with respect to the Companies’ capital structure (the “Restructuring
            Transactions”); and

                     WHEREAS, in connection with the consummation of the Restructuring Transactions, the
            Governing Body of each Company deems it is advisable and in the best interests of such Company, after
            considering the interests of its creditors and other parties in interest, that such Company file a voluntary
            petition for relief (the “Chapter 11 Case”) under the provisions of chapter 11 of title 11 of the United States
            Code (the “Bankruptcy Code”) in the bankruptcy court for the Eastern District of Virginia (the “Bankruptcy
            Court”) and/or any other petition for relief or recognition or other order that may be desirable under
            applicable law in the United States.

                    NOW, THEREFORE, BE IT RESOLVED, that each Company shall be, and is, in all respects,
            authorized to file, or cause to be filed, the Chapter 11 Case in the Bankruptcy Court and/or file or cause to
            be filed any other petition for relief or recognition or other order in connection with the Restructuring
            Transactions;

                    FURTHER RESOLVED, that any of the Authorized Signatories, acting alone or with one or more
            other Authorized Signatories be, and they are, authorized, empowered and directed to execute and file on
            behalf of each Company all petitions, schedules, lists and other motions, papers or documents and to take
            any and all action that they deem necessary or proper to obtain such relief, including, without limitation,
            any action necessary to maintain the ordinary course operation of such Company’s business;

                     FURTHER RESOLVED, that each of the Companies is authorized to pay, or cause to be paid, all
            fees and expenses incurred in connection with the Restructuring Transactions, including, but not limited to,
            the Chapter 11 Case and the transactions contemplated thereby, and all fees and expenses appropriate in
            order to effectuate the purposes and intent of the Restructuring Transactions, the Chapter 11 Case and these
            resolutions; and

                     FURTHER RESOLVED, that any of the Authorized Signatories, acting alone or with one or more
            other Authorized Signatories be, and they are, authorized, empowered and directed, in the name and on
            behalf of each Company, to take all action to notify, or to obtain any authorizations, consents, waivers or
            approvals of, any third party that such Authorized Signatory deems necessary, appropriate or advisable in
            order to carry out the Restructuring Transactions, including, but not limited to, the terms and provisions of
            the Restructuring Support Agreement, the Chapter 11 Case and the transactions contemplated by the
            Restructuring Support Agreement and the Chapter 11 Case.
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            II.      Debtor-In-Possession Financing, Use of Cash Collateral and Adequate Protection

                     WHEREAS, each Governing Body has been presented with (i) a draft of the Senior Secured Super-
            Priority Priming Debtor-In-Possession Credit Agreement (together with all exhibits, schedules, and annexes
            thereto, as amended, amended and restated, supplemented or otherwise modified from time to time, the
            “Term DIP Credit Agreement”), to be entered into among Guitar Center, Inc., a Delaware corporation
            (“Borrower”), the facility guarantors party thereto, the lenders party thereto (the “Term DIP Lenders”) and
            Delaware Trust Company, as administrative agent and collateral agent (the “Term DIP Agent”), and (ii) a
            draft of the Senior Secured, Super-Priority Debtor-In-Possession Credit Agreement (together with all
            exhibits, schedules, and annexes thereto, as amended, amended and restated, supplemented or otherwise
            modified from time to time, the “ABL DIP Credit Agreement”, and together with the Term DIP Credit
            Agreement, the “DIP Credit Agreements”), to be entered into among Borrower, the facility guarantors party
            thereto, the lenders party thereto (the “ABL DIP Lenders”, and together with the Term DIP Lender, the DIP
            Lenders”) and Wells Fargo, National Association, as the administrative agent and the collateral agent (the
            “ABL DIP Agent”, and together with the Term DIP Agent, the “Agents”);

                  WHEREAS, the obligation of the DIP Lenders to make certain extensions of credit is subject to the
            Borrower and each other facility guarantor having satisfied certain conditions described in the DIP Credit
            Agreements;

                  WHEREAS, Management and the Advisors have negotiated the terms of the DIP Credit
            Agreements, the key terms of which have been discussed with each Governing Body; and

                    WHEREAS, each Governing Body has determined that the transactions contemplated by the DIP
            Credit Agreements are in the best interest of each Company and that it is in the best interest of such
            Company to (i) execute and deliver the DIP Credit Agreements and any other document or agreement to
            which it is contemplated to become a party pursuant to the DIP Credit Agreements and the DIP Loan
            Documents (as defined below) and (ii) authorize the Authorized Signatories of the each such Company to
            take any and all actions as any such Authorized Signatory may deem appropriate to effect the transactions
            contemplated by the DIP Credit Agreements.

                    NOW, THEREFORE, BE IT RESOLVED, that in order to use and obtain the benefits of (a) the
            DIP Documents and (b) the cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code
            (the “Cash Collateral”) and in accordance with section 363 of the Bankruptcy Code, each Company will
            grant certain liens and claims, and provide Adequate Protection (as defined in the DIP Facility Term Sheet,
            the “Adequate Protection Obligations”) to certain secured parties and to the DIP Lenders to secured the
            obligations of the Companies under the DIP Credit Agreements (collectively, the “DIP Obligations”) as
            documented in a proposed order in interim and final form (together, the “DIP Orders”) and submitted for
            approval to the Bankruptcy Court;

                     FURTHER RESOLVED, that each Company, as a debtor and a debtor in possession under the
            Bankruptcy Code be, and is, authorized to incur the Adequate Protection Obligations, and to undertake any
            and all related transactions on substantially the same terms as contemplated under the DIP Loan Documents
            (collectively, the “DIP Transactions”), including granting liens on its assets to secure such obligations;

                   FURTHER RESOLVED, that the form, terms and provisions of the DIP Credit Agreements, the
            DIP Orders, and the form, terms and provisions of each of the instruments and documents listed below to
            which each Company is or will be a party (collectively with the DIP Credit Agreements and the DIP Orders,
            the “DIP Loan Documents”), be, and hereby are, in all respects approved; and further resolved, that each
            Company’s performance of its DIP Obligations under the DIP Credit Agreements and the other DIP Loan
            Documents, including the borrowings thereunder, the guaranteeing of the obligations of the other

                                                                2
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            Companies and the grant of a security interest in the assets of such Company, if applicable, be, and hereby
            are, in all respects, approved; and further resolved, that each of the Authorized Signatories, acting alone or
            with one or more other Authorized Signatories be, and hereby is, authorized and empowered to execute,
            negotiate and deliver (including by facsimile, electronic, or comparable method) the DIP Credit
            Agreements, the DIP Orders, each of the other DIP Loan Documents, and each of the instruments and
            documents contemplated thereby, in the name and on behalf of such Company, on behalf of itself or its
            subsidiaries, as applicable, under its corporate seal or otherwise, with such changes therein as shall be
            approved by the Authorized Signatory executing the same, with such execution by said Authorized
            Signatory to constitute conclusive evidence of his or her approval of the terms thereof, including any
            departures therein from the form presented to the Governing Body of each Company:

                     (a)     the DIP Credit Agreements;

                     (b)     the Security Agreements; and

                    (c)     such other documents, instruments, certificates, petitions, motions and other papers as may
            be reasonably requested by the Agents, required by the DIP Orders or contemplated by the DIP Credit
            Agreements or any other DIP Loan Document;

                     FURTHER RESOLVED, that each Company will obtain benefits from (a) the use of collateral,
            including Cash Collateral, which is security for the secured parties under the ABL DIP Credit Agreement,
            and (b) the incurrence of debtor-in-possession financing obligations pursuant to the DIP Credit Agreements
            and other DIP Loan Documents or arising from each DIP Order, which are necessary and convenient to the
            conduct, promotion and attainment of the business of such Company;

                    FURTHER RESOLVED, that the granting of security interests by each applicable Company in all
            property now or hereafter owned by such Company as contemplated by the DIP Credit Agreements, the
            DIP Orders, the other DIP Loan Documents and any other agreements, documents or filings that the Agents
            determine are necessary, appropriate, or desirable pursuant to the terms of the DIP Loan Documents be,
            and are, in all respects, authorized and approved;

                     FURTHER RESOLVED, that each of the Authorized Signatories of the Companies is authorized
            and empowered in the name of, and on behalf of, the Companies to file or to authorize the Agent to file any
            Uniform Commercial Code (the “UCC”) financing statements, any other equivalent filings, any intellectual
            property filings and recordation and any necessary assignments for security or other documents in the name
            of the Companies that the Agents deem necessary or appropriate to perfect any lien or security interest
            granted under the DIP Orders and the DIP Loan Documents, including any such UCC financing statement
            containing a generic description of collateral, such as “all assets,” “all property now or hereafter acquired”
            and other similar descriptions of like import, and to execute and deliver, and to record or authorize the
            recording of, such mortgages and deeds of trust in respect of real property of the Companies and such other
            filings in respect of intellectual and other property of the Companies, in each case as the Agents may
            reasonably request to perfect the security interests of the Agents under the DIP Orders;

                     FURTHER RESOLVED, that the Authorized Signatories of each Company, acting alone or with
            one or more other Authorized Signatories, be, and each of them is, authorized, directed, and empowered in
            the name and on behalf of each applicable Company, as debtors and debtors in possession, to guarantee the
            DIP Obligations under the DIP Credit Agreements, the DIP Orders and the other DIP Loan Documents on
            behalf of itself or on behalf of its subsidiaries, as applicable, to assign, transfer, pledge, and grant, or to
            continue to assign, transfer, pledge, and grant, to the Agents, for the ratable benefit of the respective or
            applicable Secured Parties, a security interest in all or substantially all the assets of each Company, as
            collateral security for the prompt and complete payment and performance when due of the DIP Obligations

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            under the DIP Credit Agreements, the DIP Orders, and the other DIP Loan Documents to which each
            Company is a party and to take or cause to be taken any such actions as may be necessary, appropriate or
            desirable to cause each such Company to create, perfect and maintain a security interest in each of its
            respective property or assets constituting Collateral as described or contemplated in the DIP Loan
            Documents;

                    FURTHER RESOLVED, that each of the Authorized Signatories be, and is, authorized and
            empowered to take all such further actions including, without limitation, to pay all fees and expenses in
            accordance with the terms of the DIP Loan Documents, to arrange for and enter into supplemental
            agreements, instruments, certificates, or documents relating to the transactions contemplated by the DIP
            Credit Agreements, the DIP Orders or any of the DIP Loan Documents and to execute and deliver all such
            supplemental agreements, instruments, certificates, or documents in the name and on behalf of such
            Company under its corporate seal or otherwise, which shall in their sole judgment be necessary, proper, or
            advisable in order to perform such Company’s DIP Obligations under or in connection with the DIP Credit
            Agreements, the DIP Orders, or any of the DIP Loan Documents and the transactions contemplated by the
            DIP Loan Documents, and to carry out fully the intent of the foregoing resolutions, in such form and with
            such terms as shall be approved by the Authorized Signatory executing the same, with such execution by
            said Authorized Signatory to constitute conclusive evidence of his or her approval of the terms thereof;

                    FURTHER RESOLVED, that each of the Authorized Signatories be, and is, authorized and
            empowered to execute and deliver any amendments, amendment and restatements, supplements,
            modifications, renewals, replacements, consolidations, substitutions, and extensions of the DIP Credit
            Agreements, the DIP Orders, or any of the DIP Loan Documents that shall, in their sole judgment, be
            necessary, proper, or advisable, in such form and with such terms as shall be approved by the Authorized
            Signatory executing the same, with such execution by said Authorized Signatory to constitute conclusive
            evidence of his or her approval of the terms thereof;

                    FURTHER RESOLVED, that for all transactions authorized above, the Authorized Signatories are
            authorized to open an account or accounts with such third parties as they deem necessary or desirable for
            the purpose of engaging in such transactions, and the other party to such transactions is authorized to act
            upon any verbal or written orders and instructions from the Authorized Signatories in connection with such
            accounts and transactions;

                     FURTHER RESOLVED, that each of the Authorized Signatories of each Company be, and is,
            authorized and empowered to take all actions or to not take any action in the name of any Company with
            respect to the transactions contemplated by these resolutions as the sole shareholder, partner, general
            partner, sole member, member, managing member, sole manager, manager, or director of each applicable
            subsidiary of any such Company, if any, whether existing now or in the future, in each case, as such
            Authorized Signatory shall deem necessary or desirable, including, without limitation, the authorization of
            resolutions and agreements necessary to authorize the execution, delivery, and performance pursuant to the
            DIP Loan Documents (including, without limitation, certificates, affidavits, financing statements, notices,
            reaffirmations, and amendments and restatements thereof or relating thereto) as may be necessary,
            appropriate, or convenient to effectuate the purposes of the transactions contemplated in this written
            consent. The performance of any such further act or thing and the execution of any such document or
            instrument by any of the Authorized Signatories of such Company pursuant to these resolutions shall be
            conclusive evidence that the same have been authorized and approved by such Company in every respect;

                      FURTHER RESOLVED, that all acts and actions taken by the Authorized Signatories prior to the
            date of this written consent with respect to the transactions contemplated by the DIP Credit Agreements,
            the DIP Orders or any of the DIP Loan Documents be, and are, in all respects confirmed, approved, and
            ratified;

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                    FURTHER RESOLVED, that the signature of any Authorized Signatory of such Company shall
            be conclusive evidence of the authority of such Authorized Signatory to execute and deliver the documents
            to which such Company is a party. The authority granted in this written consent shall apply with equal force
            and effect to any successors-in-office of the Authorized Signatories identified in this written consent; and

                    FURTHER RESOLVED, that all capitalized terms used in the resolutions under this “Section II
            Debtor-In-Possession Financing, Use of Cash Collateral and Adequate Protection” and not otherwise
            defined in this written consent shall have the meanings given to such terms in the DIP Credit Agreements,
            as applicable.

            III.     Retention of Professionals.

                    NOW, THEREFORE, BE IT RESOLVED that each of the Authorized Signatories be, and they are,
            authorized and directed to employ the following professionals on behalf of each such Company: (i) the law
            firm of Milbank LLP, as general bankruptcy counsel, (ii) the law firm of Hunton Andrews Kurth LLP, as
            local bankruptcy counsel, (iii) Houlihan Lokey, Inc., as restructuring advisor, (iv) Berkeley Research
            Group, LLC, as operational and financial advisor, (v) Prime Clerk LLC, as notice and claims agent, (vi)
            UBS Securities LLC, as sole and exclusive lead underwriter, placement agent or initial purchaser and
            bookrunner with respect to the expected issuance of new senior secured notes in the Restructuring
            Transactions, (vii) Lyons, Benenson & Company Inc., as compensation consultant and advisor, and (viii)
            any other legal counsels, accountants, financial advisors, restructuring advisors or other professionals the
            Authorized Signatories deem necessary, appropriate or advisable; each to represent and assist each such
            Company in carrying out its duties and responsibilities and exercising its rights under the Bankruptcy Code
            and applicable law (including, but not limited to, the law firms filing any pleadings and responses); and in
            connection therewith, each of the Authorized Signatories be, and is authorized, empowered and directed,
            in accordance with the terms and conditions of these resolutions, to execute appropriate retention
            agreements and to cause to be filed appropriate applications for authority to reach such services; and

                     FURTHER RESOLVED, that all acts and deeds previously performed by any of the officers of the
            Authorized Signatories, as may be applicable, prior to the adoption of the foregoing recitals and resolutions
            that are within the authority conferred by the foregoing recitals and resolutions, are ratified, confirmed and
            approved in all respects as the authorized acts and deeds of the Authorized Signatories, as the case may be.

            IV.      General

                    NOW, THEREFORE, BE IT RESOLVED, that in addition to the specific authorizations conferred
            upon the Authorized Signatories by the foregoing resolutions, each of the Authorized Signatories (and their
            designees and delegates) be, and they are, authorized and empowered, in the name of and on behalf of each
            such Company, to take or cause to be taken any and all such other and further action to: execute,
            acknowledge, deliver, and file any and all such agreements, certificates, instruments, and other documents;
            and pay all expenses, including but not limited to filing fees, in each case as in such officer’s or officers’
            judgment, shall be necessary, advisable, or desirable to fully carry out the intent and accomplish the
            purposes of the resolutions adopted in this consent;

                    FURTHER RESOLVED, that each Governing Body has received sufficient notice of the actions
            and transactions relating to the matters contemplated by the foregoing resolutions, as may be required by
            the organizational documents of each such Company, or waive any right to have received such notice;

                    FURTHER RESOLVED, that all acts, actions and transactions relating to the matters contemplated
            by the foregoing resolutions done in the name of and on behalf of each such Company, which acts would
            have been approved by the foregoing resolutions except that such acts were taken before the adoption of

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            these resolutions, are in all respects approved and ratified as the true acts and deeds of each such Company
            with the same force and effect as if each such act, transaction, agreement or certificate has been specifically
            authorized in advance by resolution of each such Governing Body; and

                    FURTHER RESOLVED, that each of the Authorized Signatories (and their designees and
            delegates) be and is authorized and empowered to take all actions or to not take any action in the name of
            each such Company with respect to the transactions contemplated by the foregoing resolutions, as such
            Authorized Signatory shall deem necessary or desirable in such Authorized Signatory’s reasonable
            judgment as may be necessary or convenient to effectuate the purposes of the transactions contemplated in
            this consent.

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                    IN WITNESS WHEREOF, each of the undersigned has executed this consent as of the date first
            written above.

                                                               GUITAR CENTER HOLDINGS, INC.
                                                               GUITAR CENTER, INC.




                                                               Norman Axelrod


                                                               Kurt Cellar


                                                               Gabriel Dalporto


                                                               Ron Japinga


                                                               David Kaplan


                                                               Michael Nawrot


                                                               David Ricanati


                                                               Anthony Truesdale


                                                               Abraham Zilkha
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                                                               GUITAR CENTER STORES, INC.
                                                               GTRC SERVICES, INC.




                                                               Ronald Japinga


                                                               Timothy Martin


                                                               Michael Pendleton
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                                                               GC BUSINESS SOLUTIONS, INC.



                                                               Ryan Kritscher


                                                               Timothy Martin


                                                               Michael Pendleton
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                                                               AVDG, LLC, by its sole member, GC Business
                                                               Solutions, Inc.


                                                               By:
                                                               Name:    Michael Pendleton
                                                               Title:   General Counsel and Secretary
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                                                               GUITAR CENTER GIFT CARD COMPANY,
                                                               LLC,
                                                               MUSIC & ARTS INSTRUCTOR SERVICES,
                                                               LLC,

                                                               by its sole member, Guitar Center Stores, Inc.



                                                               By:
                                                               Name:     Michael Pendleton
                                                               Title:    General Counsel and Secretary
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                                                             ANNEX I


                     1. GUITAR CENTER HOLDINGS, INC.

                     2. GUITAR CENTER, INC.

                     3. GUITAR CENTER STORES, INC.

                     4. GTRC SERVICES, INC.

                     5. GC BUSINESS SOLUTIONS, INC.

                     6. AVDG, LLC

                     7. GUITAR CENTER GIFT CARD COMPANY, LLC

                     8. MUSIC & ARTS INSTRUCTOR SERVICES, LLC
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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                RICHMOND DIVISION


                                                           )
 In re:                                                    )    Chapter 11
                                                           )
 GUITAR CENTER, INC.,                                      )    Case No. 20- ______ (___)
                                                           )
                           Debtor.                         )
                                                           )



                            LIST OF EQUITY SECURITY HOLDERS

  Equity Holders (Type of            Address of Equity Holder   Class / Kind of   Percentage
         Holding)                                                  Interest        of Equity
                                                                                      Held
          Guitar Center              5795 Lindero Canyon Rd.,   Common Stock         100%
          Holdings, Inc.               Westlake Village, CA
                                              91362




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                                                                                            45014.00001
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION

                                                                   )
    In re:                                                         )          Chapter 11
                                                                   )
    GUITAR CENTER, INC.,                                           )          Case No. 20- ______ (___)
                                                                   )
                             Debtor.                               )
                                                                   )



                              CORPORATE OWNERSHIP STATEMENT

       Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the equity interests of the Debtor and its affiliated debtors (collectively, the
“Debtors”):

       Guitar Center Holdings, Inc. is the direct or indirect parent of each of the other Debtors.
Ares PE Extended Value Fund LP owns 97.5% of the interests 1 in Guitar Center Holdings, Inc.

             Guitar Center Holdings, Inc. holds 100% of the interests in Guitar Center, Inc.

       Guitar Center, Inc. holds 100% of the interests in each of Guitar Center Stores, Inc., GTRC
Services, Inc., and GC Business Solutions, Inc.

     Guitar Center Stores, Inc. holds 100% of the interests in each of Guitar Center Gift Card
Company, LLC and Music & Arts Instructor Services, LLC.

             GC Business Solutions, Inc. holds 100% of the interests in AVDG, LLC.




1
      Without giving effect to issued and outstanding warrants and options.
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 Fill in this information to identify the case and this filing:


                Guitar Center, Inc.
 Debtor Name __________________________________________________________________
                                            Eastern                               Virginia
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                                  (State)
 Case number (,INQRZQ):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



              Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


              6FKHGXOH$%$VVHWV±5HDODQG3HUVRQDO3URSHUW\ (Official Form 206A/B)

              6FKHGXOH'&UHGLWRUV:KR+DYH&ODLPV6HFXUHGE\3URSHUW\ (Official Form 206D)

              6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV (Official Form 206E/F)

              6FKHGXOH*([HFXWRU\&RQWUDFWVDQG8QH[SLUHG/HDVHV (Official Form 206G)

              6FKHGXOH+&RGHEWRUV(Official Form 206H)

              6XPPDU\RI$VVHWVDQG/LDELOLWLHVIRU1RQ,QGLYLGXDOV (Official Form 206Sum)

              Amended 6FKHGXOH ____


         ✔
               &KDSWHURU&KDSWHU&DVHV/LVWRI&UHGLWRUV:KR+DYHWKH/DUJHVW8QVHFXUHG&ODLPVDQG$UH1RW,QVLGHUV (Official Form 204)


         ✔
               Other document that requires a
                                               List of Equity Security Holders and Corporate Ownership Statement.
               declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.

                    
        Executed on ______________                             8    /s/ Tim Martin
                                                                 _________________________________________________________________________
                           MM / DD / YYYY                          Signature of individual signing on behalf of debtor



                                                                    Tim Martin
                                                                   ________________________________________________________________________
                                                                   Printed name

                                                                   Authorized Signatory
                                                                   ______________________________________
                                                                   Position or relationship to debtor



Official Form 202                               Declaration Under Penalty of Perjury for Non-Individual Debtors
